    Case 3:16-cv-02091-VAB Document 60 Filed 08/29/18 Page 1 of 4



                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

NOR1ANA RADWAN                                     CIVIL ACTION NO. 3:16-CV-02091 (VAB)
PLAINTIFF,

        v.

UNIVERSITY OF CONNECTICUT                          August 29, 2018
BOARD OF TRUSTEES, WARDE
MANUEL, LEONARD TSANTIRIS,
AND MONA LUCAS, INDIVIDUALLY,
DEFENDANTS


        JOINT PROPOSED MOTION TO STAY SCHEDULING ORDER PENDING
                        SETTLEMENT CONFERENCE

         The parties respectfully request a stay of the scheduling order in the present case until

after a settlement conference is held. 1 The parties seek a stay of the following deadlines in this

case as entered by the court on July 19, 2018 (Doc. No. 56):

      I. Deposition of plaintiff's experts by August 31, 2018;

     2. Defendants disclosure of expert witness and reports due by September 10, 2018;

     3. Deposition of defendants' experts by October 18,2018;

     4. Completion of discovery by November 1, 2018.

     5. Post-Discovery Status Conference to be set by Judge Victor A. Bolden for November 8,

         2018, 2018 at l l:OOa.m. (Once all parties are on the line, please call chambers at (203)

         579-5562.

     6. Dispositive motions due by December 14, 2018.

     7. Joint Trial Memorandum to be filed 30 days after the Court rules on dispositive motions.

     8. Trial ready date 30 days after the Joint Trial Memorandum is submitted.


1
 Accompanying the present motion to stay is a motion requesting the court schedule a settlement
conference to be heard by Magistrate Judge Garfinkel.
 Case 3:16-cv-02091-VAB Document 60 Filed 08/29/18 Page 2 of 4



       Notwithstanding the parties' motion to stay, defendants will provide plaintiff

supplemental responses to plaintiff's request for production. The parties held a telephone

conference on August 25, 2018, and resolved outstanding disputes as it related to plaintiff's

request for production. Accordingly, defendants will supplement its response with electronically

stored information following a forensic search and paper documents, consistent with the parties'

resolution.




                                                     DEFENDANTS

                                                     GEORGE JEPSEN
                                                     ATTORNEY GENERAL


                                              BY:    /s/Rosemarv M. McGovern
                                                     Rosemary M. McGovern
                                                     Assistant Attorney General
                                                     Federal Bar No. ct19594
                                                     55 Elm Street
                                                     P.O. Box 120
                                                     Hartford, CT 06141-0120
                                                     Tel: (860) 808-5020
                                                     Fax: (860) 808-5084
                                                     Rosemary.McGovern@ct.gov

                                                     PLAINTIFF, NORIANA RADWAN

                                              By:    /s/ Jonathan J. Klein
                                                     Jonathan J. Klein (ct00513)
                                                     1445 Capitol A venue
                                                     Bridgeport, Connecticut 06604-1619
                                                     Phone: (203) 330-1900
                                                     Fax: (203) 330-1526
                                                     E-mail: jjkesqlaJ,hotmail.com
                                                     Her Attorney




                                                             -and-




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Case 3:16-cv-02091-VAB Document 60 Filed 08/29/18 Page 3 of 4



                                  By:   Isl Gegory J. Tarone
                                        Gregory J. Tarone, Esq.
                                        Federal Bar #ct30272
                                        5020 Route 9W, Suite 104
                                        Newburgh, NY 12550
                                        Phone: (845) 527-5424
                                        Fax: (845) 563-0461
                                        E-mail: Greg!aJ,TaroneEsg.com
                                        Her Attorney




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 Case 3:16-cv-02091-VAB Document 60 Filed 08/29/18 Page 4 of 4



                                         CERTIFICATION


        I hereby certify that on August 29, 2018, a copy of the foregoing Motion was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by e-mail to all parties by operation of the court's electronic filing system or by

mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this filing through the court's CM/ECF System.




                                                       Isl Rosemary M. McGovern
                                                        (#ct19594)
                                                       Assistant Attorney General
                                                       55 Elm Street, P.O. Box 120
                                                       Hartford, CT 06141-0120
                                                       Tel: (860) 808-5160
                                                       Fax: (860) 808-5084
                                                       Email: Rosemary.McGovern@ct.gov
